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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

In re: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION

This Document Relates to:

ALL INDIRECT-PURCHASER ACTIONS

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Case No. 07-5944 SC
MDL No. 1917

DEFENDANTS’ MEMORANDUM OF
POINTS AND AUTHORITIES IN
OPPOSITION TO MOTION OF
INDIRECT-PURCHASER PLAINTIFFS
FOR CLASS CERTIFICATION

Date: To Be Determined
Place: JAMS Resolution Center
Special Master: Hon. Charles A. Legge

DEFENDANTS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO MOTION OF
INDIRECT-PURCHASER PLAINTIFFS FOR CLASS CERTIFICATION — Case No. 07-5944, MDL NO. 1917

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Defendants respectfully submit this brief in opposition to the Indirect Purchaser Plaintiffs’
(“Plaintiffs’”) Motion for Class Certification (the “Motion”).

STATEMENT OF THE ISSUES TO BE DECIDED

Have the Plaintiffs met their burden to establish each of the requirements of Rule 23 to
certify the proposed indirect purchaser class?

INTRODUCTION AND SUMMARY OF ARGUMENT

This is not, as Plaintiffs claim in their brief, the type of “straightforward” price-fixing case
that is purportedly “routinely certified” as a class action. Motion at 1. It is exactly the opposite — an
indirect purchaser case in which the price-fixing allegations at issue involve a multitude of diverse
products, incorporated as components into a multitude of differentiated and competitively-priced
finished products, sold at different prices, at different times, to different customers, and under
various competitive circumstances at each level of distribution. As this Court’s recent decisions in
In re Flash Memory Antitrust Litig., No. 07-0086, 2010 WL 2332081 (N.D. Cal. June 9, 2010)
(“Flash Memory’) and In re Graphics Processing Units Antitrust Litig., 253 F.R.D. 478 (N.D. Cal.
2008) (“GPU”) demonstrate, a class action in these circumstances is inconceivable because it is not
possible to establish with common proof that there was classwide impact to each member of the
indirect consumer class. Countless mini-trials would be required instead to determine if individual
class members suffered any injury at all. See Flash Memory, 2010 WL 2332081, at *10-11 (denying
motion to certify indirect purchaser class based on the expert testimony of Dr. Netz, the same expert
used here by Plaintiffs); GPU, 253 F.R.D. at 503-07 (same).

Put simply, this case presents the worst possible set of circumstances for indirect purchaser
class certification as is evident both from undisputed facts in the record and from Dr. Netz’s tortured
approach that two different Northern District judges have rejected and is now conclusively debunked
once again by Dr. Robert Willig, the former Deputy Assistant Attorney General for economics in the
Antitrust Division of the United States Department of Justice. See Declaration of Robert D. Willig,
Ph.D., In Opposition to Motion of Indirect-Purchaser Plaintiffs for Class Certification (N.D. Cal.)
No. CV-07-5944-SC (Dec. 17, 2012) (hereinafter, the “Willig Decl.”).

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There is no short-cut for Plaintiffs to avoid their burden of establishing that each
requirement of class certification has been satisfied. See Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct.
2541, 251-52 (2011) (district courts must conduct a “rigorous analysis” of the evidence to determine
if plaintiffs have met their Rule 23 burden). Although Plaintiffs take the remarkable position that
they are “not required” to demonstrate common impact (Motion at 23-24, 26), they are wrong as a
matter of law: under Rule 23(b)(3), Plaintiffs bear the burden of showing, through common proof,
not just that there are common issues with respect to the existence of the alleged conspiracy, but that
common issues “predominate” over individualized issues of fact concerning injury and damages
with respect to each class member. Blades v. Monsanto Co., 400 F.3d at 562, 566 (8th Cir. 2005).
Plaintiffs cannot do so under the facts of this case because, among other things, they have offered no
reliable methodology capable of demonstrating classwide impact or injury with common proof.

Plaintiffs’ only support for their claim of “common” proof to establish classwide impact,
injury, and pass-on to all class members is the expert declaration of Dr. Janet Netz. Declaration of
Janet S. Netz, Ph.D., In Support of Motion of Indirect-Purchaser Plaintiffs for Class Certification
(N.D. Cal.) No. CV-07-5944-SC (Oct. 1, 2012) (hereinafter, the “Netz Decl.”). Dr. Netz’s
Declaration, however, is based on false factual assumptions that are divorced from the record
evidence as well as flawed methodologies that have already been twice rejected by this Court. It is
thus incapable of satisfying Plaintiffs’ burden of proof to establish common proof of classwide
injury. For example:

e Dr. Netz has elected to present the very same defective and unreliable approaches to opining
on issues of claimed classwide impact, injury, and pass-on that she knows have twice been
rejected by this Court as being wholly unreliable and insufficient to certify indirect purchaser
classes in Flash Memory and GPU. See Flash Memory, 2010 WL 2332081, at *9-13; GPU,
253 F.R.D. at 503-07.

e This defective approach includes Dr. Netz’s improper reliance on “aggregating” and

“averaging” of selected pricing data — instead of actual pricing data — which obscures, rather

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example, Dr. Netz conceded at her deposition that if half of all tubes were sold at prices 25%
below the alleged cartel “target prices” and the other half of tubes were sold at prices 25%

percent above the alleged cartel “target prices,” she would conclude, using her averaging,

that all prices charged equaled the alleged “target prices,” ee

This type of selective use of non-representative
data has been rejected by numerous courts.

More specifically, at the direct purchaser level, Dr. Netz’s analysis suffers several
fundamental deficiencies that render it incapable of demonstrating common proof of classwide
impact. As in Flash Memory and GPU, the allegedly price-fixed products - CRTs, which include
both CDTs (color display tubes for monitors) and CPTs (color picture tubes for televisions) — are
diverse, highly customized products sold in numerous different sizes, with different features, at
numerous individually negotiated prices to manufacturers of finished CRT products. CRTs of
different sizes faced dynamic competition from LCD and plasma at different times over the course
of the twelve-year class period alleged in the complaint. Yet, Dr. Netz’s analysis accounts for none
of these facts. In addition, Dr. Netz makes false assumptions about geographic and product
connections without any analysis of the relevant market facts and repeatedly relies upon “theories”
and unsupported assumptions, rather than the record evidence, as the basis for her “opinions.” For
all of these reasons, as well as those set forth in defendants’ Motion to Strike the Proposed Expert
Testimony of Dr. Janet S. Netz (hereinafter, the “Motion to Strike”), the proffered analysis of Dr.
Netz should be rejected out of hand as it does not provide any reasonable, non-speculative basis for
satisfying the Rule 23(b)(3) predominance test.

Just as critically, Dr. Netz’s pass-on analysis fails at the indirect purchaser level. The
undisputed evidence establishes that the diverse CRTs at issue were used to produce differentiated

CRT televisions and CRT monitors — with numerous price points, features and brand reputations —

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and then sold through a varied group of distributors, brick-and-mortar retailers, internet retailers,

discounters, department stores, and every other conceivable type of retailer. In addition, the record

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common means of proving pass-through, as different consumers purchased their CRT finished
products at divergent price points depending on numerous factors, including whether they purchased
the product on sale, what size and type of model they purchased, what type of retailer they
patronized, whether they purchased the product in combination with other items, like a VCR,
computer or service plan, and when they purchased the product during the alleged twelve-year

period.

see Flash, 2010 WL 2332081, at *13; GPU, 253 F.R.D. at 505 (“the only way to
fully assess pass-through in this action would be to conduct a wholesaler-by-wholesaler and re-
seller-by-re-seller investigation” requiring “thousands of mini-trials’”’) (emphasis added).

Once again, Dr. Netz’s pass-on analysis accounts for none of this. Dr. Netz failed to analyze
actual prices; used only a tiny, unrepresentative sample of the data; and completely ignored the
record evidence from retailers that pass-through frequently did not occur, and if it did, was not
uniform. As in her “target price” analysis at the direct purchaser level, Dr. Netz’s pass-on analysis
simply assumes its conclusion with no reliable analysis of the record facts. For all of these reasons,
it provides no basis for demonstrating common proof of classwide impact and should be rejected.

Plaintiffs have also failed to meet their Rule 23 burden to establish that their proposed class
is ascertainable. The undisputed evidence instead confirms that there is no manageable way to
determine who is and is not a member of the proposed class as many putative class members do not

have the means to determine whether or not the finished CRT products they purchased contain a tube

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manufactured by one of the defendants or their alleged co-conspirators. This is fatal. See, e.g.,
Xavier v. Philip Morris USA Inc., 787 F. Supp. 2d 1075, 1089 (N.D. Cal. 2011); Flash Memory,
2010 WL 2332081, at *14-15.

Finally, Plaintiffs have failed to meet their burden to prove that the proposed class
representatives can meet the adequacy and typicality requirements of Rule 23(a), precluding
certification. See Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147 (1982). The undisputed evidence
demonstrates that a large number of the proposed class representatives, for a large number of the
affected states, cannot meet this test because, among other things, they cannot show that they
purchased one of the relevant products in the relevant states.

STATEMENT OF FACTS

THE CRT INDUSTRY WAS COMPRISED OF DIVERSE PRODUCTS SUBJECT TO
DIFFERENT COSTS AND DIFFERENT FORCES OF SUPPLY AND DEMAND

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A. CPTs And CDTs Were Distinct Products
At the broadest level, cathode ray tubes (“CRTs”) were divided into two distinct types of

products: (1) CDTs, which were the tubes used in color computer monitors, and (2) CPTs, which
were the tubes used in color televisions. See IPPs’ Third Consolidated Amended Complaint (“Third
CAC”) at ¢ 14. CPTs and CDTs were not interchangeable and Plaintiffs have presented no evidence
to suggest that they were in the same relevant product market. See Netz Decl. 17 (“[A] TV
manufacturer would not use a CDT and a monitor manufacturer would not use a CPT.”); Cole Decl.
Ex. 2, Netz Tr. 49:17-22 (Dr. Netz did not study the relevant product market); id. at 57:11-15 (Dr.
Netz did not study the extent to which plasma television sets were competitive with CRT sets).'
Indeed, CPTs and CDTs each had unique technical standards, different components, and dissimilar

size ranges. Willig Decl. §§ 39-41.? Further, since CPTs and CDTs were designed for different

Cole Decl. Ex.

4, Tae Kwon (LG Electronics) Tr. 71:21-24 (same).
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finished products, there typically were different customers who purchased CPTs and CDTs.°

B. Within The Distinct Product Categories Of CDTs And CPTs, There Was
Extensive Diversity Of Products

The broad categories of CDTs and CPTs contain many products that differed in “application,
size, shape, finish, and mask type” as well as “different resolutions and the use of various coatings.”
Netz Decl. 16; see Willig Decl. 99 39-41 (additional differentiation of CRTs affecting price by
shadow mask material, dot pitch, safety and performance standards, tube curvature, and electrical
specs).

As Dr. Netz admits, CRTs are not “off-the-shelf products, but are heavily customized to
each purchaser’s specifications. Netz Decl. 20.2 CRTs manufactured by one company, designed for
and selected by a particular television manufacturer, for example, could not readily be substituted for
a CRT from a different manufacturer. As a result, the price for even the same type and size of CRT

would vary substantially based on customization, and it is very difficult to compare prices for

different CRTs.°

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Further, different sizes and types of CRTs faced different competitive forces during the
alleged class period. CRT monitors, for example, faced stronger competition from LCDs earlier
than CRT televisions did.” As a result, CDTs faced stronger competition from LCDs earlier than
CPTs.* When LCD and plasma competition did emerge for CPTs, it was most strongly felt, at first,

with respect to larger-sized CPTs. Willig Decl. ¥ 57.

I. NORTH AMERICAN PRICING DYNAMICS WERE DISTINCT FROM OVERSEAS
PRICING DYNAMICS

While CRTs were manufactured and sold in various countries, pricing dynamics in North
America were different from other parts of the world. Willig Decl. {§ 64-68. Because of technical
issues, certain types of CRTs could only be sold in North America, while others could not be sold in
North America.’

The mix of CRT products sold in North America differed from other regions.'® Cole Decl.

Ex. 2, Netz Tr. 203:5-9. Moreover, most CRTs sold in the North American market were generally

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manufactured in North American tube factories because of their fragile nature and high shipping
costs.’ For example, larger CPTs for CRT televisions sold in the U.S. were nearly all manufactured
in North America.'* These market differences resulted in price movements that were very different
for CRTs sold into North America than for CRTs sold elsewhere. Willig Decl. 4] 64-68, Ex. 9.1°
Hence, there is no basis for Dr. Netz to rely on “global” price assumptions to reach opinions about
USS. prices. Cole Decl. Ex. 2, Netz Tr. 94:14-15.
Il. FINISHED CRT PRODUCTS (TVS AND MONITORS) DIFFERED WIDELY

Like CRTs, finished CRT products (i.e., televisions and monitors) were not interchangeable

and were subject to disparate market forces.'* Indeed, CRT televisions and monitors had different

distribution and sales chains, internal sales teams, brand reputations, and customers.!°

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Within each size category of televisions and monitors, CRT products were highly
differentiated.’© In general, there were tiers of finished products, which had dissimilar technological
and user features and competed on different terms.'’ For example, larger or premium CRT
televisions had added features beyond simply having a larger tube (e.g., picture-in-picture, advanced
stereo sound, built-in VCRs or DVDs, etc.), for which consumers buying a CRT television would

pay different and higher prices.'®

IV. CRT MANUFACTURERS HAD DIVERGENT BUSINESS MODELS AND MARKET
SHARES OVER TIME

During the alleged class period, numerous companies manufactured CRTs. These CRT

manufacturers included many non-defendants, who were significant competitors.'? Worldwide

revenue shares also shifted among CRT manufacturers. See, e.g., ee

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Cole Decl. Ex. 29, Wood (IPP)
Tr. 49:17-50:21 (discussing IPP’s opinion of tier-one versus tier-two quality brands).

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"3, ring he class

period, different CRT manufacturers entered and exited the business for various CRT products.”’
Further, contrary to the assertion by Dr. Netz, vertical integration was not uniform in the
CRT industry. See Netz Decl. 29 & Appx. A. Rather, some CRT manufacturers (like Chunghwa
and LG.Philips Displays, post-July 2001) were not vertically integrated with a manufacturer of CRT
products.” Moreover, even vertically integrated manufacturers of CRT products purchased CRTs

from unaffiliated CRT suppliers.”?

V. DURING THE PUTATIVE CLASS PERIOD, CRTs AND FINISHED CRT
PRODUCTS WERE A DYING TECHNOLOGY, AND DEMAND, PRICES, AND
PROFITS RAPIDLY DECLINED, NEGATING ANY INFERENCE OF COMMON
PROOF OF CLASSWIDE INJURY

Demand for CRTs and CRT products plummeted rapidly during the alleged class period due

to competition from newer, more advanced LCD and plasma display technologies." Cole Decl. Ex.

*4 See, e.g., Third CAC, J 193 (CRT products were “approaching obsolescence” during the alleged
class period “caused by the emergence of a new, potentially superior and clearly more popular,
substitutable technology.”); id. at § 125 (“Demand for CRT products was declining.”); id. at 4126
(“conventional CRT televisions and computer monitors were being rapidly replaced by TFT-LCD

and Plasma displays”);

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2, Netz Tr. 115:15-116:2. This decreased demand caused a corresponding drop in prices and
profits.” CRT manufacturers were left with excess capacity”° and accumulating inventories of soon-
to-be obsolete products, leading Dr. Netz to describe CRTs as a “sick” industry during the putative
class period.”” Jd. at 120:7-8.

The ascendance of LCD and plasma occurred earlier and more rapidly than many in the CRT
industry expected.”2 By 2003, the CRT industry had ee
a” By the end of the alleged class period, most major suppliers of CRTs and CRT finished

products (TVs and monitors) had exited the market or substantially shifted their production to LCD

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and plasma.*°

VI. THE WIDE VARIETY OF DISTRIBUTION AND MANUFACTURING CHANNELS
FOR CRTs AND FINISHED CRT PRODUCTS FURTHER CONTRIBUTED TO
WIDE VARIATIONS IN PRICING

CRTs travelled long and varied chains from factory to finished product to consumers’ homes
and offices, with numerous and different stops in between. Netz Decl. 29-33; Willig Decl. § 120-
21.7) Tube manufacturers first sold CRTs to either a manufacturer of a finished CRT product or to a:
distributor (who would resell to the finished CRT product manufacturer). Netz Decl. 29-30.”
Finished product manufacturers sometimes sold directly to consumers, sometimes to another layer of
distributors, or to retailers. Jd. at 32. If the sale was to an intermediary, they, in turn, resold the
finished products to end-users. Jd at 32-33; Willig Decl. §§ 120-21. There were also huge
variations in the type of retailers who sold finished CRT products, ranging from brick-and-mortar
specialty stores (like Best Buy, Circuit City or Office Depot), to internet sites (like Amazon.com), to
department stores (like Sears or Macy’s), to big discounters (like Walmart, Target or Costco), and
everything in between. Netz Decl. 32; Willig Decl. J] 117, 120-21. The diagram below illustrates

the many different paths a CRT could take to an end-user, which varied depending on the

Cole Decl. Ex. 50, HDP-CRT00049107-108 (“Hitachi Ltd., Japan’s biggest
electronics maker, on Thursday said it will exit the conventional desktop computer display tube
business, citing sluggish PC demand and a shift to new displays. ... Hitachi Ltd. added that it
expected future demand for computer screens to shift to [LCD] monitors and that as a result ‘there
are no prospects for growth of the monitor CRT market.’”).

* There are at least four different types of finished CRT product manufacturers, each of which
“operate under a variety of business models.” Netz Decl. 30-32.

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manufacturer, time period, CRT-type, finished product type, and business models of the intermediate

purchasers and retailers, among other factors:

See Willig Decl. Ex. 23.
The prices of CRT products varied widely depending on the distribution channel used,**

among many other factors.

VIL. PRICING PRACTICES DIFFERED WIDELY FOR BOTH CRTs AND CRT
FINISHED PRODUCTS

The pricing of both CRTs and CRT finished products varied from supplier to supplier,

product to product, type of retailer, within retailers, and customer to customer over time.

* See, e.g., Cole Decl. Ex. 52, Comeaux (IPP) Tr. 30:14-18 (plaintiff purchased TV on sale); Cole

Decl. Ex. 53, Lawyer’s Choice Suites, Inc. (IPP) Tr. 75:23-76:9 (stating that he received a discount
because he purchased his computer items together as a package); a

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Retailers also had different pricing practices and strategies, resulting in different prices to

consumers.’

5 See, e.g., Cole Decl. Ex. 55, Lee (LG Electronics)-Tr. 44:4-8 (sales VP could provide volume

discounts to particular customers);

37 See, e.g., Cole Decl. Ex. 29, Wood (IPP) Tr. 74:15-77:22 (discussing Costco’s membership
model); Cole Decl. Ex. 57, Riebow (IPP) Tr. 71:14-18 (purchased TV at Sears due to favorable

return policies);

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Other retailers employed their own varied pricing philosophies.

The pricing of same-sized CRT televisions and monitors varied considerably based on the

quality and feature set of each model.*?

see also Cole Decl. Ex. 29, Wood
(IPP) Tr. 76:23-77:22 (plaintiff who purchased television at Costco explained that her membership
fees are worth the value because being a member allows her to obtain products at lower prices than
at other stores).

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ia Among CRT tubes of the same size, pricing often varied based on each product’s quality and

features,’ as well as the reputation and technological aptitude of the manufacturer.” The result was
that different consumers purchased different finished CRT products through different distribution

channels at thousands of price points. See Willig Decl. f¥ 17, 44-45.

VOI. NEITHER MANUFACTURERS NOR RETAILERS OF FINISHED CRT PRODUCTS
WERE ABLE TO ACHIEVE UNIFORM PASS-ON TO ALL CUSTOMERS

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Further, numerous major retailers, including Circuit City, Office Depot, K-Mart and Target,
have asserted in this MDL that they were unable to pass on the alleged increase in the prices charged

to them for finished CRT products.”

See, e.g., See, e.g., Siegel v. Hitachi, Ltd., No. 11-cv-05502, § 217 (N.D. Cal.) [Dkt. No. 1] (Nov.
14, 2011); CompuCom Systems, Inc. v. Hitachi, Ltd., No. 11-cv-06396, Ff 88, 211 (N.D. Cal.) [Dkt.
No. 1} (Nov. 14, 2011); Electrograph Systems, Inc. v. Hitachi, Lid., No. 11-cv-01656, 4§ 98, 225
(N.D. Cal.) [Dkt. No. 5] (Mar. 10, 2011); Interbond Corp. of Am. v. Hitachi, Ltd., No. 11-cv-06275,
4 86, 209 (N.D. Cal.) [Dkt. No. 1] (Nov. 14, 2011); Office Depot, Inc. v. Hitachi, Ltd., No. 11-cv-
06276, J§ 87, 210 (N.D. Cal.) [Dkt. No. 1] (Nov. 14, 2011); P.C. Richard & Son Long Island Corp.
v. Hitachi, Ltd., No. 12-cv-02648, {J 92, 215 (N.D. Cal.) [Dkt. No. 1] (Nov. 14, 2011); Schultze
Agency Servs., LLC v. Hitachi, Ltd., No. 12-cv-02649, JJ 90, 213 (N.D. Cal. ) [Dkt. No. 1] (Nov. 14,
2011); Target Corp. v. Chunghwa Picture Tubes, Ltd., No. 11-cv-05514, 4 106, 228 (N.D. Cal.)
[Dkt. No. 9] (Jan. 6, 2012).

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I 1c: is 0 contrary evidence in

the record facts.
Based on this, there is no-plausible basis for Plaintiffs or Dr. Netz to claim that there is any

common method for Plaintiffs to prove that any alleged overcharges on CRTs were uniformly passed

through all distribution channels to all consumers. ee

ARGUMENT

I. RULE 23 REQUIRES A “RIGOROUS ANALYSIS” OF ALL THE EVIDENCE

Class certification is not permissible unless Plaintiffs meet their burden to satisfy all Rule 23
prerequisites by a preponderance of the evidence. See, e.g., In re Hydrogen Peroxide Antitrust
Litig., 552 F.3d 305, 320 (Gd Cir. 2008); Teamsters Local 445 Freight Div. Pension Fund v.
Bombardier Inc., 546 F.3d 196, 202 (2d Cir. 2008). Plaintiffs’ claim that a lower burden applies in a
price-fixing case and that doubts about whether Rule 23 has been satisfied must be resolved in
Plaintiff's favor (Motion at 13-14) is wrong and flatly contrary to the Supreme Court’s requirement
of a “rigorous analysis.” Dukes, 131 S. Ct. at 2551 (quoting Falcon, 457 U.S. at 160-61); see also
Ellis v. Costco Wholesale Corp., 657 F.3d 970, 983 (9th Cir. 2011). Indeed, the Supreme Court has
made it clear that “actual, not presumed, conformance” with Rule 23 is “indispensable” (Dukes, 131
S. Ct. at 2551) and it has long been the rule that “the issues of injury and damage remain the critical
issues” in a price-fixing case (as opposed to the violation itself) and “are always strictly
individualized.” Windham v. American Brands, Inc., 565 F.2d 59, 66 (4th Cir. 1977).

Given the above, district courts must “resolve[] factual disputes relevant to each Rule 23
requirement and find[] that whatever underlying facts are relevant to a particular Rule 23

requirement have been established.” Jn re Initial Pub. Offerings Sec. Litig., 471 F.3d 24, 41 (2d Cir.
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2006). If necessary in doing so, “district court[s] must consider the merits if they overlap” with class
certification issues. Ellis, 657 F.3d at 981.”°

In the sections that follow, defendants establish that Dr. Netz has not offered a reliable
methodology to prove (i) “pass-on” to all members of the putative indirect purchaser class, most of
whom paid vastly different prices even for identical products or (ii) a common method to prove that
the alleged cartel successfully imposed overcharges on all direct purchasers of CRTs. Finally,
defendants confirm that Dr. Netz has offered no reliable, common methodology to assess class-wide

damages.

A. Rule 23(b)(3) Imposes Stringent Demands Of Common Proof Of Impact
And Injury Even In Price-Fixing Cases

Plaintiffs take the remarkable position that they are “not required” to establish a viable
method for common proof of impact. Motion at 23-24, 26. None of Plaintiffs’ citations support this
assertion, and no such authorities exist.4” To the contrary, the governing rule is straightforward:
Plaintiffs bear the burden of showing, through common proof, that every class member paid a higher
price than he would have absent the alleged conspiracy. See, e.g., In re New Motor Vehicles

Canadian Export Antitrust Litig., 522 F.3d 6, 19 n.18 (1st Cir. 2008); Blades, 400 F.3d at 570, 573-

||“ Dukes and Ellis highlight the deficiencies of the indirect purchaser class certification decision in

the TFT-LCD litigation. Among other things, Judge Illston deferred consideration of the validity of
Dr. Netz’s analysis until trial. See In re TFT-LCD (Flat Panel) Antitrust Litigation, 257 F.R.D. 583,
606 (N.D. Cal. 2010) (“Defendants’ challenges to plaintiffs’ evidence and Dr. Netz’s analyses go to
the merits of plaintiffs’ claims, and will be resolved by the trier of fact.”). Such deferral is no longer
permitted.

“7 Plaintiffs cite In re Napster Copyright Litigation, No. C MDL-00-1369, 2005 WL 1287611 (N.D.
Cal. June 1, 2005), see Motion at 23, but that case is an inapposite copyright litigation lacking the
separate conspiracy and individual impact liability elements present in price-fixing cases. The other
three cases Plaintiffs cite, see Motion at 24, are similarly inapposite because they assess whether,
and do not presume that, individual class member impact could be shown using common proof. See
In re Relafen Antitrust Litig., 221 F.R.D. 260, 275, 280-87 (D. Mass. 2004) (dismissing state
monopolization class claims based on lack of common evidence of individual impact); Jn re Sugar
Indus. Antitrust Litig., 73 F.R.D. 322, 346-48 (E.D. Pa. 1976) (granting class certification only after
finding that plaintiffs could show impact through common evidence); Jn re Abbott Labs. Norvir
Anti-trust Litig., No. C 04-1511, 2007 WL 1689899, at *9 (N.D. Cal. June 11, 2007) (granting class
certification only after finding that plaintiffs demonstrated that impact and damages could be shown
with common proof).

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74; accord 2A Phillip Areeda et al., Antitrust Law 4 331d (3d ed. 2007) (“[T]he fact that some class
members may not have been damaged at all generally defeats class certification, because the fact of
injury, or ‘impact,’ must be established by common proof.”)."* This requirement is especially
rigorous in indirect purchaser cases because indirect plaintiffs must demonstrate common proof to
establish both that “defendants overcharged their direct purchasers” and that “those direct purchasers
passed on the overcharges to plaintiffs.” GPU, 253 F.R.D. at 499; see also Somers v. Apple, Inc.,
258 F.R.D. 354, 358 (N.D. Cal. 2009); In re Methionine Antitrust Litig., 204 F.R.D. 161, 164 (N.D.
Cal. 2001); Flash Memory, 2010 WL 2332081, at *7. Plaintiffs have failed to satisfy either of these

critical elements here.

B. Plaintiffs Have Not Offered a Methodology Capable of Demonstrating

Classwide Impact Or Injury With Common Proof
Plaintiffs’ attempt to offer common proof of impact, injury and pass-on begins and ends with
the opinion and testimony of Dr. Netz. This Court, however, has already twice held that the same
methodologies employed by Dr. Netz here are “unreliable” and “insufficient” to prove class-wide
impact and pass-on. See Flash Memory, 2010 WL 2332081, at *9-13; GPU, 253 F.R.D. at 503-07.

The undisputed evidence, recounted above, establishes that, in this case, as in the previous cases:

[T]here are thousands of differentiated products with diverse price points that
have been purchased by putative class members over the course of the last decade.
Such products are sold to class members by hundreds of different retailer
suppliers. The price of any given product can vary across retailers, and differ
even for a single retailer at a given point in time. Further, different retailers
respond to cost changes in different ways, with some choosing not to pass-

“8 See also Kottaras v. Whole Foods Market, Inc., 281 F.R.D. 16, 24 (D.D.C. 2012) (denying
certification where plaintiffs’ expert could not account for instances where class members did not
pay higher prices); Butt v. Allegheny, 116 F.R.D. 486, 490-92 (E.D. Va. 1987) (denying certification
due to the “risk of non-injury” because any uninjured class members were identifiable only through
individualized inquiry) (emphasis added). In fact, the authorities cited by Plaintiffs fully recognize
this rule. See Motion at 31 (citing Bogosian v. Gulf Oil Corp., 561 F.2d 434, 454 (3d Cir. 1977) for
the proposition that “proof of impact [may] be made on a common basis so long as the common
proof adequately demonstrates some damage to each individual”). The Bogosian decision also
articulated what has been termed the “Bogosian concept of presumed impact,” but the Third Circuit
has since recognized that “[a]pplying a presumption of impact based solely on an unadorned
allegation of price-fixing would appear to conflict with the 2003 amendments to Rule 23, which
emphasize the need for a careful, fact-based approach, informed, if necessary, by discovery.”
Hydrogen Peroxide, 552 F.3d at 326.

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through cost changes in the form of higher prices for the end-user.

Flash Memory, 2010 WL 2332081, at *10. Under these circumstances, there is no common method
of establishing classwide impact or injury. GPU, 253 F.R.D. at 503, 505. (“the only way to fully
assess pass-through” with respect to a non-fungible product sold at varying price points “would be to
conduct a wholesaler-by-wholesaler and re-seller-by-re-seller investigation.”).

Indeed, Dr. Netz employs the same “junk science” masquerading as economics here that she
did in Flash Memory and GPU. As in those cases, Dr. Netz has failed to acknowledge real world
differences among the prices paid by direct and indirect purchasers and makes “no attempt to assess
whether pass-through rates vary by product or by customer;” instead, she simply assumes that all
CRTs (including CPTs and CDTs) are in the same market and subject to the same pass-through
rates. Flash Memory, 2010 WL 2332081, at *8, *11-12. This failure to account for marketplace
differences and realities precludes certification of an indirect purchaser class. See, e.g., GPU, 253
F.R.D. at 491 (plaintiffs could not demonstrate class-wide impact in an industry involving non-
fungible products, widely divergent distribution chains and other market variables that caused
different customers to pay different prices).

In fact, Dr. Netz’s analysis is even more deficient here than it was in Flash Memory or GPU
because it is based on false factual assumptions that are contradicted by the undisputed record],
evidence as well as methodologies so unreliable as to render them inadmissible. See Motion to
Strike at 7-11. Whether admissible or not, Dr. Netz’s analysis is so deficient that it does not come
close to satisfying Plaintiffs’ burden to prove a reliable common means of establishing impact and
pass-on to all members of the putative class. Absent such proof, Plaintiffs cannot meet the

predominance test of Rule 23(b)(3).

1. Dr. Netz Has Not Offered Reliable Common Proof of “Pass-On” to All
Members of the Putative Class Who Paid Vastly Different Prices

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PS 8s 1s Court has made clear, the pass

through of any alleged cartel price increase cannot simply be assumed, particularly in an industry
like this, in which price variation is the rule, rather than the exception. See Flash Memory, 2010 WL
2332081, at *10-13; GPU, 253 F.R.D. at 503-07.

a. Dr. Netz’s Pass-On Analyses Improperly Use Price
“Averages” That Obscure Real World Price Differences

As a threshold matter, Dr. Netz’s purported pass-on analyses are inherently unreliable
because they calculate “average” as opposed to actual pricing data. Netz Decl. 103-04, Exs. 34-39.
It is undisputed (and even Dr. Netz was forced to concede) that different customers could pay
different prices for the same CRT product depending on the time of purchase, individualized

discounts, product bundling, and a wide variety of other reasons. See Cole Decl. Ex. 2, Netz Tr.

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Despite this acknowledged variation in transaction-level pricing, Dr. Netz did not calculate
the actual pass-on rate charged to class members for finished CRT products and looked instead only

at their “averages.”

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As another example of this fatal “averaging” flaw in all of Dr. Netz’s pass-on analyses, a

Because pass-through rates varied so much within and among individual members of the

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supply chain, to determine if a particular indirect purchaser was harmed by the alleged cartel, i
would be necessary to conduct an individualized inquiry into the pass-through rate for the product at

issue at each relevant step. Calculating “averages” is not acceptable to solve this insurmountable

“’ Numerous factors would lead to these marked differences in pricing and pass through, including
differences in competitive conditions across different product categories (e.g., larger CRT TVs
facing greater competition from LCD TVs than smaller CRT TVs) and the use of different discounts
and -temporary sales promotions (such as a retailer using certain models of televisions as loss
leaders). See Willig Decl. ¥ 122.

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problem. Flash Memory, 2010 WL 2332081, at *10 (N.D. Cal. 2010) (‘By looking only at an
average price trend, Dr. Netz’s model obscures individual variations over time among the prices that
different customers pay for the same or different products that appear in the data”); GPU, 253 F.R.D.
at 504 (dismissing Dr. Netz’s analysis for being “overly reliant on averages [which] would thus
sweep in an unacceptable number of uninjured plaintiffs”).
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industry reality alone mandates the denial of Plaintiffs’ Motion. See Flash, 2010 WL 2332081, at
*13 (rejecting certification of an indirect purchaser class based on Dr. Netz analysis where “[t]he
products, channels and markets are sufficiently numerous and diverse to preclude application of a
reliable and meaningful method of calculating pass-through rates on a class-wide basis”); GPU, 253
F.R.D. at 505 (same); In re Brand Name Prescription Drugs Antitrust Litig., Nos. 94 C 897, MDL
997, 1994 WL 663590, at *7 (N.D. Ill. Nov. 18, 1994) (“tracing the alleged overcharges from
manufacturers, to wholesalers, to retailers, to consumers presents individualized issues which would

dominate this litigation and preclude certification under Rule 23(b)(3)’).

b. Dr. Netz’s Pass-Through Analyses Are Based on Tiny,
Unrepresentative Samples of Pricing Data

A second fatal flaw in Dr. Netz’s pass-on analyses is that she simply assumes a

ee based on a tiny sliver of incomplete data. For example, in a purported

study at the retail level, Dr. Netz analyzed the pricing data of only two retailer-plaintiffs iim
a). while ignoring the price data for most of the major retailer-plaintiffs in this MDL. Dr.
Netz did not test whether this tiny sample is statistically representative or appropriate, Cole Decl.
Ex. 2, Netz. Tr. 72:2-73:23; 74:15-76:18; 129:22-132:8, which clearly contravenes the governing
case law. See, e.g., In re Methionine Antitrust Litig., No. 00-1311, 2003 WL 22048232, at *5 (N.D.
Cal. Aug. 26, 2003) (decertifying indirect purchaser class where plaintiffs’ expert’s regressions were

not representative samples of the end-user market); Rojas v. Marko Zaninovich, Inc., No. 09-0705,

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2011 WL 6671737, at *4 (E.D. Cal. Dec. 21, 2011) (concluding that expert report was “marred by
serious methodological flaws” including its failure to factor in all the available data); LeClereg v.
The Lockformer Co., No. 00-7164, 2005 WL 1162979, at *4 (N.D. Ill. Apr. 28, 2005) (excluding
expert’s opinion which relied on only some of the existing sampling data as this “amount[ed] to
cherry-pick[ing] the facts he considered to render his opinion, and such selective use of facts fail[s]
to satisfy the scientific method and Daubert”) (internal quotations omitted); Finestone v. Florida
Power & Light Co., No. 03-14040, 2006 WL 267330 (S.D. Fla. Jan. 6, 2006) (finding the expert’s
methodology unreliable as he did not “adequately explain why he chose only the thirty-two samples
with Co60 and not the remaining samples that had no Co60 to compute the average amount of
C060”); Rowe Entm’t, Inc. v. William Morris Agency, Inc., No. 98-8272, 2003 WL 22124991, at *3
(S.D.N.Y. Sept. 15, 2003) (excluding expert whose study of 1,561 contracts was neither “random
nor representative”); see also REFERENCE MANUAL ON SCIENTIFIC EVIDENCE, REFERENCE GUIDE ON
ESTIMATION OF ECONOMIC DAMAGES at 483 (3rd ed. 2011) (“If the expert elects to study a sample of
the data, the expert needs to have carefully considered how the information will be used to ensure
that the data sample is large enough and contains sufficient information. Usually, this requires that
the expert has constructed a model of damages and a related sampling plan that includes an estimate
of the sampling error.’’).

The problem in using incomplete pricing data and leaving large portions of pricing data
unstudied is underscored by the fact that eight major retailer-plaintiff groups whose data Dr. Netz
did not review (e.g., Circuit City, Office Depot, K-Mart and Target), have asserted the opposite of

Dr. Netz’s assumption regarding pass-on, i.e., that they did not pass on any increases in CRT costs to

their customers.

»* See, e.g., Siegel v. Hitachi, Ltd., No. 11-cv-05502, 4 217 (N.D. Cal.) [Dkt. No. 1] (Nov. 14, 2011);
CompuCom Systems, Inc. v. Hitachi, Ltd., No. 11-cv-06396, {| 88, 211 (N.D. Cal.) [Dkt. No. 1]
(Nov. 14, 2011); Electrograph Systems, Inc. v. Hitachi, Ltd., No. 11-cv-01656, J 98, 225 (N.D.
Cal.) [Dkt. No. 5] (Mar. 10, 2011); Interbond Corp. of Am. v. Hitachi, Ltd., No. 11-cv-06275, 4 86,
209 (N.D. Cal.) [Dkt. No. 1] (Nov. 14, 2011); Office Depot, Inc. v. Hitachi, Lid., No. 11-cv-06276,
44 87, 210 (N.D. Cal.) [Dkt. No. 1] (Nov. 14, 2011); P.C. Richard & Son Long Island Corp. yv.
Hitachi, Ltd., No. 12-cv-02648, J§ 92, 215 (N.D. Cal.) [Dkt. No. 1] (Nov. 14, 2011); Schulize
Agency Servs., LLC v. Hitachi, Ltd., No. 12-cv-02649, J 90, 213 (N.D. Cal. ) [Dkt. No. 1] (Nov. 14,
2011); Target Corp. v. Chunghwa Picture Tubes, Ltd., No. 11-cv-05514, FJ 106, 228 (N.D. Cal.)
[Dkt. No. 9] Jan. 6, 2012).

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In doing so, she again did nothing to
establish that her sample was at all representative and she did not use the pricing data that was
available from defendants for such major brands of CRT televisions as Samsung Electronics,

Panasonic, Philips, LG and Hitachi to conduct any pass-through analysis. Jd. at 139:6-18.

C. Dr. Netz a The Record Evidence That a

Dr. Netz’s pass-through analyses are flawed not only from a methodological perspective, but
they also ignore the unrebutted record evidence that not all manufacturers, wholesalers, and retailers

of finished CRT products

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This is also consistent with the testimony at the distributor and manufacturer level for

finished CRT products that

The failure of Dr. Netz to address these market realities is yet another fatal flaw in her pass-
through studies. See Flash Memory, 2010 WL 2332081, at *12 (“Dr. Netz makes no attempt to
assess whether pass-through rates vary by product or by customer”). Indeed, Dr. Netz did not and

cannot trace an alleged conspiratorial increase in the price of a tube to determine if the consumer

price of the relevant finished product experienced any comparable change in price.

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2. Plaintiffs Offer No Reliable Common Method for Proving that All Direct
Purchasers Paid Supra-Competitive Prices For Every CRT As a Result of
the Alleged Cartel

Beyond failing to provide any reliable common proof of pass-through, Dr. Netz’s analysis
fails at its threshold point because she also does not provide any reliable common proof that all
direct purchasers of CRTs paid supra-competitive prices as a result of the alleged cartel. As this
Court knows, such common proof of injury at the direct purchaser level is a prerequisite for indirect
purchaser class certification as there must first be a common impact to be passed on. Flash Memory,

2010 WL 2332081, at *10-11; GPU, 253 F.R.D. at 503.

a. Dr. Netz’s “Target Price” Analysis Suffers Several
Fatal Deficiencies That Render It Incapable Of
Demonstrating Classwide Impact to Direct Purchasers

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10s) Memory, 2010 WL 2332081, at *11; see Willig Decl. |

104; REFERENCE MANUAL ON SCIENTIFIC EVIDENCE, REFERENCE GUIDE ON MULTIPLE REGRESSION at
308-09 (3rd ed. 2011) (‘{C]ourts have rejected regression studies that did not have an adequate

foundation or research design with respect to the issues at hand.”).

i Cole Decl. Ex. 2, Netz Tr. 158:5-159:24. Because she used average instead of
transaction-level prices, Dr. Netz never examined the actual prices for CRTs that were charged by
defendants in the market, nor the numerous price differences that existed for such sales. Instead, as
previously discussed, Dr. Netz’s use of averages serves to obscure price differences, rather than
demonstrating a common method of accounting for them, and for that reason alone, must be rejected
by this Court. See Flash Memory, 2010 WL 2332081, at *10-13; GPU, 253 F.R.D. at 503-07.”
Because Dr. Netz only calculates average sales prices for groups of tubes that do not account
for the many differences in actual prices charged by defendants for different CRTs and different
customers, there is no way for her to reliably opine whether all direct CRT purchasers suffered
common impact. To the contrary, she conceded at her deposition that if half of direct purchasers
bought CRTs at 25% percent above the alleged cartel “target price,” and the other half purchased
CRTs at 25% below the alleged cartel “target price,” her “averaging” analysis would cause her to
conclude that all actual prices equaled the alleged “target price,” when, in fact, none of them came
within even 25%. Cole Decl. Ex. 2, Netz Tr. 158:14-22. Such an absurd analysis cannot be relied
upon by this Court. See Flash Memory, 2010 WL 2332081, at *10 (rejecting analysis for
“obscur[ing] individual variations over time among the prices that different customers pay for the

same or different products”); GPU, 253 F.R.D. at 494-95 (same).

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The failure of Dr. Netz’s analysis is further demonstrated by the extensive record evidence

It is likewise undisputed that a large number of CRTs were custom-designed and thus subject
to individual price negotiations by customer, as opposed to off-the-shelf pricing. See supra at 6-7.
These negotiated transactions necessarily resulted in substantial price variations, for which Dr. Netz
does not attempt to account. Willig Decl. 9 77, 83.

Instead of relying on average prices like Dr. Netz did, Dr. Willig recognized these market

realities and compared actual transaction-level sales prices of CRTs with the group “target prices’

used by Dr. Netz. Willig Decl. §] 107-08, Ex. 18.

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In fact, neither of these assumptions is consistent with the record.

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CRTs sold in North America were different from those for CRTs sold in other parts of the world.
See Willig Decl. {J 64-68.

Compounding this problem,

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geographic assumption had any validity. See id. at 37:6-14. She-did not examine, for example,
whether U.S. prices of tubes moved in the same direction as prices charged abroad or not. Jd. Nor
did she do anything to determine the scope of the relevant geographic market. Jd at 189:8-12.
Accordingly, Dr. Netz had no basis to draw any conclusions about the prices paid by direct

purchasers of CRTs in the United States.
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Similarly, Dr. Netz’s target price comparison is fundamentally unreliable

C. Dr. Netz’s Opinions About Common Impact at the
Direct Purchaser Level Also Fail Because of Her
Refusal to Try to Calculate Any “But-For” Price

Despite bearing the burden to offer a methodology capable of demonstrating classwide
impact through common proof, Blades, 400 F.3d at 570, 573-74, Dr. Netz admits that she made no
attempt to calculate the “but-for” (competitive) price of CRTs. Cole Decl. Ex. 2, Netz Tr. 97:4-11,
98:1-3. In other words, Dr. Netz never compared the transactional sales data for a particular tube
sold by defendants in the United States with an estimate of the competitive price for that same tube.
Instead, she simply assumed, without any factual support or analysis, that each of the “target prices”

was set at a supra-competitive level because it would not make sense for the alleged cartel members

to do anything else. Ie. at 154:18-156:2,

contends in her Declaration that economic theory supports her assumption that all of the defendants

would only charge cartel prices above competitive levels for all of their CRT sales to all of their
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customers, at her deposition, Dr. Netz was forced to concede that it would make just as much
economic sense for defendants to participate in an alleged cartel that was only effective in raising
prices above competitive levels for some CRT products or some, but not all, geographic markets.
Cole Decl. Ex. 2, Netz Tr. 153:22-154:9. Despite acknowledging this possibility, Dr. Netz admitted
that she did not study this issue and therefore could not opine on it. Jd. This admission is fatal to
Dr. Netz’s purported common proof of impact as she had no basis to opine that all direct purchasers

in the United States suffered injury by paying a supra-competitive price.

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ee In such circumstances, it is simply impossible for Dr. Netz to reliably
opine that all direct purchasers of CRTs experienced a common injury. See In re Florida Cement
and Concrete Antitrust Litig., No. 09-23187, 2012 WL 27668, at *9 (S.D. Fla. Jan 3, 2012) (no
common impact when some customers’ prices decreased, while other customers’ prices increased);
In re Plastic Additives Antitrust Litig., No. 03-CV-2038, 2010 WL 3431837, at *12 (E.D. Pa. Aug.
31, 2010) (same).

d. There Is Also No Reliable Evidence of a Common CRT
“Price Structure,” Further Undermining The Premise
for Dr. Netz’s Common Injury Opinions at the Direct
Purchaser Level

Finally, there is no reasonable basis for Dr. Netz’s conclusion that there was a common price
structure for CRTs that caused all CRT prices to move in tandem and thus enabled the alleged cartel
to cause a common impact on all direct purchasers. This failure dooms Plaintiffs’ ability to meet the
predominance test. Evidence that there was an agreement to set some target prices for some types
and sizes of tubes cannot provide class-wide proof of impact without further evidence that this
agreement affected the pricing of all other tubes. In other words, if impact must be proven
separately for each of the numerous types and sizes of tubes, and at different times during the alleged
class period, such individualized proof would overwhelm any common questions concerning the
existence of the alleged cartel. This failure is particularly significant here because Dr. Netz’s price

analyses are based on tiny subsets of target price and transaction data that do not account for most

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types and sizes of tubes for most of the putative class period. Without demonstrating that prices of
other (unexamined) types and sizes of tubes were correlated to the prices of the tubes she analyzed,
i.e., that there was a “price structure” that permits one to conclude that a change in the price of one
type of tube leads to a similar, corresponding change in the price of other types of tubes, Dr. Netz’s
analysis is wholly incapable of proving common impact to direct purchasers, even setting aside all of

the other fatal flaws in her analysis discussed above.

First, Dr. Netz’s hedonic regressions, like her other price studies, improperly rely upon
“average prices” — this time monthly averages — that distort and cover up price differences and
movements. Jd. at 69-71. Such regressions using average price data are simply not a basis for
opining on the issue of common impact in a class action context where pricing variations, not
averages, are critical to the analysis. Flash Memory, 2010 WL 2332081, at *10-11; GPU, 253
F.R.D. at 503-04.

Second, Dr. Netz’s hedonic regressions do not test whether average prices of CRTs of
different sizes are correlated in a lock-step price structure. Dr. Netz admitted that she has not
conducted the type of price correlation analysis that she conducted in the TFT-LCD litigation, which
would actually measure whether there was any such correlation between the price movement of

different sizes of different featured products. Cole Decl. Ex. 2, Netz Tr. 105:1-10. a

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Third, a minor modification of Dr. Netz’s hedonic analysis demonstrates the opposite of her
“price structure” opinion, i.e., that large and small CRT prices did not move in lock step, but varied
over time and across manufacturers. Jd. at {§ 75-77. Consider the following example: suppose that
in Month 1, a 32” tube sells for $180 and a 17” tube sells for $100. In Month 2, the price of the 32”
tube goes down by $20 because of increased competition from LCDs, but the price of the 17” tube

goes up by $20 because of an alleged cartel target price for that screen size.

Size of Tube Month 1 Price Month 2 Price
32 inch $180 $160 (-$20)
17 inch $100 $120 (+$20)

In this example, Dr. Netz would conclude, using her regression, that there is a “price structure”
between different sized CRTs because the larger sized CRT had a higher price than the smaller sized
CRT in both months, and the average of the two months shows that the price of the larger size CRT
was consistently higher. This analysis would do nothing, however, to account for the fact that the
prices of the two sizes were actually moving in opposite directions, demonstrating the complete
absence of any “price structure.”

Fourth, Dr. Netz’s regressions concededly control only for a limited set of tube
characteristics that affect price, while excluding other important tube features that are relevant to
price, such as resolution, masks, dot pitch, MPRII/TCO, and frequency. Netz Decl. Exs. 19-24. The
omission of such important price variables is yet another reason why the Netz regressions are
completely unreliable. See Flash Memory, 2010 WL 2332081, at *10 (rejecting Dr. Netz’s
regressions because, among other things, they failed “to take into account . . . the wide range of
different types of products with equally varied attributes (other than capacity and architecture) and
prices.”); Burkhalter Travel Agency v. MacFarms Int'l, Inc., 141 F.R.D. 144, 154 (N.D. Cal. 1991)

(“there are significant differences between the markets for macadamia nuts on Hawaii and on the

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mainland, between large and small purchasers, and between bulk and retail purchasers”); GPU, 253

||F.R.D. at 491 (identifying significant differences between the markets for graphics products based

on what device the product was designed for (i.e., a desktop, notebook, or handheld application) and
performance level); see also REFERENCE MANUAL ON SCIENTIFIC EVIDENCE, REFERENCE GUIDE ON
MULTIPLE REGRESSION at 314 (3rd ed. 2011) (“Failure to include a major explanatory variable that is
correlated with the variable of interest in a regression model may cause an included variable to be
credited with an effect that actually is caused by the excluded variable.”).

Finally, Dr. Netz admitted at her deposition that she does not know what models qualify as
“neighbors” under her “price structure” opinion. Cole Decl. Ex. 2, Netz Tr. 106:1-10. Accordingly,
she has no basis to offer an opinion that all CRT tubes would suffer any common impact as she does

not even know which CRT tubes would be “neighbors” under her own analysis.

3. Dr. Netz Has Offered No Reliable Methodology to Assess
Class-Wide Damages Using Common Proof

In addition to its many other defects, Dr. Netz’s declaration is insufficient to support
Plaintiffs’ class allegations because its discussion of various possible methods for proving class
damages is purely theoretical (see Motion at 26-28; Netz Decl. 83-97) and does not satisfy Rule
23(b)(3)’s requirement that Plaintiffs “demonstrate a reliable mathematical or formulaic method for
adequately ‘calculating Plaintiffs’ damages class-wide.” Allied Orthopedic Appliances, Inc. v. Tyco
Healthcare Group L.P., 247 F.R.D. 156, 176 (C.D. Cal. 2007). Plaintiffs argue that their “burden to
qualify the damages proof as yet another common question is a modest one.” Motion at 26. But to
support class certification, a plaintiffs expert must do more than provide a general explanation of
the available methods that he or she might use to try to measure class damages. Instead, the expert
must “conduct [a] meaningful economic analysis” of proposed benchmarks to show that “a workable
damage formula” exists. Allied Orthopedic, 247 F.R.D. at 177; Butt v. Allegheny Pepsi-Cola
Bottling Co., 116 F.R.D. 486, 492 (E.D. Va. 1987) (denying class certification where “Plaintiffs
expert states, in very general terms, that statistical methods exist by which individual damages may

be calculated, and plaintiff asserts that a workable formula can be developed”).* Dr. Netz has failed

* See also Piggly Wiggly Clarksville, Inc. v. Interstate Brands Corp., 100 Fed. App’x 296, 300 (Sth

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to meet this burden.

Specifically, as noted above (see supra at 32-33), Dr. Netz declines to perform any “but-for”
analysis in her report, instead opting to merely “describe four formulaic approaches to estimating the
but-for price.” Netz Decl. 83-97; Cole Decl. Ex. 2, Netz Tr. 97:4-7.. However, Dr. Netz failed to
establish that any of the “formulaic approaches” are viable given the factual record.

For example, Dr. Netz asserts that she could use the “before and after” method, in which she
would compare the prices during the alleged conspiracy period to those either before March 1995 or
after November 2007. Netz Decl. 86-87. But Dr. Netz fails to identify a before or after time period
for which the requisite data is available.”° Additionally, while Dr. Netz recognizes that any before
and after prices would need to be adjusted for variables that affected supply and demand of CRTs
(see id. at 87-90) she has not attempted to identify and define these variables, much less construct a
model that accounts for them. See In re Live Concert Antitrust Litig., 863 F. Supp. 2d 966, 974
(C.D. Cal. 2012) (“[t]he determination of the ‘but for’ prices, however, must take into account
nonconspiratorial factors that would have caused prices to be different in the conspiracy period even

if there had been no conspiracy”). Importantly, Dr. Netz does nothing to explain how she would

Cir. 2004) (denying certification where plaintiffs did not prove that “a reliable formula for damages
can be devised which will yield statistically significant results, that the data that would have to be
plugged into such a formula can be assembled, that the relevant variables like negotiating skill can
be quantified, and. that all of this can be used to reliably measure antitrust damages for each of the
many thousands of members of the proposed class”). ,

Dr. Netz’s assertion that she “expect[s] to receive additional data from
Defendants” is insufficient. Netz Decl. 87. In GPU, the Court rejected plaintiffs’ “promises that
they will be able to formulate the appropriate analysis and prove both impact and damages once they
obtain the necessary data,” holding that “[a]fter eight months of discovery, plaintiffs should have the
data to formulate their regression analyses with more precision.” 253 F.R.D. at 505-06. See also
Piggly Wiggly, 100 Fed. App’x at 300 (“[w]hatever theoretical appeal this approach has, plaintiffs do
not persuade us that data for such periods is readily available for all class members’); In re OSB
Antitrust Litig., No. 06-826, 2007 WL 2253425, at *6-12 (E.D. Pa. Aug. 3, 2007) (denying class
certification where plaintiffs’ expert had not demonstrated that he could obtain the data necessary to
complete his regression analyses). Moreover, Dr. Netz has also conceded that the record
demonstrates that most defendants were no longer in the CRT business after the conclusion of the
putative class period, thus the data required for Dr. Netz’s “before and after” method does not exist.
See Cole Decl. Ex. 2, Netz Tr. 247:10-14.

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account for the overall decline in the CRT industry as a result of emerging technologies, such as
LCD or plasma, or the varied rates of decline by screen size. Cole Decl. Ex. 2, Netz Tr. 52:18-25
(“Q. Do you [] know that LCD penetrated much more quickly against small size screens as opposed
to large size screens? A. | believe, yes, I’m familiar with that at least in terms of TV products but
it’s not — doing a specific study of penetration rates is not necessary for me to answer the questions I
was asked to answer. Q. You didn’t do such a study? A. That’s correct.”). Yet, Dr. Netz concedes
that such emerging technologies had a “very significant impact,” making her proposed damages
method a non-starter. Jd. at 115:12-22. See GPU, 253 F.R.D. at 495-96 (“Notably absent are other
factors that would likely have an impact on prices, including GPU performance, product features,
supply and demand factors, the customization of the product, and product deadlines associated with
the sale. Without incorporating such variables, it is impossible to account for the diversity in
products and purchasers here.”).°°

Dr. Netz’s proposed benchmark method of estimating the “but-for” prices of CRTs is
likewise deficient. Dr. Netz identifies “[t]wo electronic products that do possess characteristics that
make them potentially reasonable benchmarks for the but-for world,” but she fails to present any
evidence that the markets for those products - VHS recorders and portable CD players — are similar
to the market at issue here. See Netz Decl. 90-92 (emphasis added). The closest Dr. Netz comes to a
comparison is her assertion that because both CRT and the proposed benchmark: products were

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eventually replaced by “alternative technologies,” “consumer considerations such as whether to buy
a new version of the current technology or wait and purchase the emerging technology were likely to
have been similar between the CRT industry and the benchmark industries.” Jd. (emphasis added).
This conclusory assertion is insufficient. See, e.g., Eleven Line, Inc. v. N. Tex. State Soccer Ass’n,

213 F.3d 198, 208 (Sth Cir. 2000) (“An antitrust plaintiff who uses a yardstick method of

determining lost profit bears the burden to demonstrate the reasonable similarity of the business

°° See also In re Live Concert Antitrust Litig., 863 F. Supp. 2d at 980 (rejecting “before and after”
approach where it failed to account for “major factors,” such as the emergence of digital music on
the concert industry: “[t]his fundamental change in marketplace dynamics clearly qualifies as a
‘major factor,’ which should have been accounted for—in some fashion—in Dr. Phillips’ analysis”).

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whose earning experience he would borrow.”).””

Indeed, each of Dr. Netz’s proposed damage methodologies fails to take into account the
realities of the CRT market during the alleged class period, and instead are simply general
explanations of the available methods that she could try to use to estimate classwide damages in any
antitrust matter. Cole Decl. Ex. 2, Netz Tr. 246:12-15 (“Q: Is it correct that these four methods
would apply to any cartel case in which there is data available to — to satisfy the method? A: I guess
the answer is largely yes.”). She has performed no analysis for any one of her four methods to
analyze whether the data, if available, will support her economic theories in the specific context of
the record in this case and she concedes that “it is within the realm of possibility that when I or
somebody else goes to implement one of these methods that they discover that it can’t be
implemented.” Cole Decl. Ex. 2, Netz Tr. 249:13-17; 248:9-17 (“Q: Have you run any tests of any
of these methods you identified to -- to see how a damage analysis would work and whether or not
there’s sufficient data? Like have you actually run anything? A: I have not done any calculations . .

.. [have not begun the implementation of any of these methods.”). This is insufficient. See Am.

Seed Co. v. Monsanto Co., 238 F.R.D. 394, 402 (D. Del. 2006) (denying class certification where

plaintiff's expert did not know if the data would support his theory, and thus had not “sufficiently
grounded his theory of injury in the factual setting of the case to justify class certification”), aff'd,
271 Fed. App’x 138 (3d Cir. 2008).

Dr. Netz’s certify-it-now-and-figure-it-out-later approach is not a proper basis to certify a
class. Courts have repeatedly rejected class certification motions where, as here, the proposed
method to determine class-wide damages consists only of “general, untried economic theory,”

without any demonstration that “their proposed methods are workable with real world facts.”**

°’ Dr. Netz’s remaining two proposed methods for estimating classwide damages, the simulation and
market power methods, face similar problems and amount to nothing more than the type of
generalized discussion one could find in a textbook on damage models with no link to the facts of
this case. See Netz. Decl. 92-97; see also Flash, 2010 WL 2332081, at *11 (“more than the one-
size-fits-all theoretical construct proposed by Dr. Netz” is needed).

°8 Melnick v. Microsoft Corp., Nos. CV-99-709, CV-99-752, 2001 WL 1012261, at *16 (Me. Super.
Ct. Aug. 24, 2001); OSB, 2007 WL 2253425, at *11 (“[Plaintiffs’ expert’s] opinion . . . has little
probative value because he has not conducted any analysis of the ‘real economic world’ . . . [,] [h]e
has relied almost entirely on economic theory and generalizations about market competitiveness and

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4, Common Impact and Injury Cannot Be Inferred

In a final attempt to establish common impact and injury, Plaintiffs assert that “California
and other repealer states’ laws permit an inference of classwide injury or classwide proof of
damages.” Motion at 28.°’ This is not the law.

As an initial matter, Rule 23 governs the predominance inquiry, not state law. See Marlo v.
UPS, Inc., 639 F.3d 942, 947 (9th Cir. 2011) (“Federal Rule of Civil Procedure Rule 23 governs the
class-certification issue even if the underlying claim arises under state law.”); accord 7A Wright,
Miller & Kane, Federal Practice and Procedure § 1758, Flash Memory, 2010 WL 1332081, at *13
n.11 (“The existence of a presumption of impact would not obviate the requirement that a plaintiff
seeking class certification demonstrate that there is a reasonable method for determining on a class-
wide basis whether and to what extent that overcharge was passed on to each of the indirect
purchasers at all levels of the distribution chain.”) (quotations and alterations omitted).

Consistent with this principle, federal courts have repeatedly denied or limited certification
of indirect purchaser classes without reference to any state-law “inference” of class-wide injury.
See, e.g., GPU, 253 F.R.D. at 479, 503-07 (rejecting certification of indirect purchaser classes under
California and other state laws due to lack proof of impact through common evidence); California v.

Infineon Techs. AG, No. 06-4333, 2008 WL 4155665, at *3, *5-12 (N.D. Cal. Sept. 5, 2008) (same);

‘elasticities’ of supply and demand, without analyzing the competitiveness or elasticities of actual
housing markets”); Somers v. Apple, Inc., 258 F.R.D. 354, 361 (N.D. Cal. 2009) (denying class
certification and “find[ing] it significant that Plaintiff has done nothing more than make a vague
five-paragraph long collection of proposals for accomplishing what the Court sees as a daunting
task”).

°° Notably, courts in many states under whose laws Plaintiffs claim relief—including Maine,
Michigan, and Tennessee—have explicitly rejected any such inference of class-wide impact. See,
e.g., Melnick, 2001 WL 1012261, at *6 (holding that each plaintiff must prove that the antitrust
violation “did in fact cause him injury”); Ren v. Philip Morris Inc., No. 00-004035-CZ, 2002 WL
1839983, at *5 (Mich. Cir. Ct. June 11, 2002) (injury in fact cannot be established through the use of
presumptions or inferences); Sherwood v. Microsoft Corp., No. M2000-01850-COA-R9-CV, 2003
WL 21780975, at *30 (Tenn. Ct. App. July 31, 2003) (“plaintiffs will be required to prove they were
actually damaged by the alleged monopolistic conduct”). With respect to Kansas, Plaintiffs assert
that state law “obviate[es] the need for common proof of damages.” Motion at 37. Rule 23(b)(3),
however, requires common proof of the fact of damages separately from common proof of their
amount. See supra at 19-20.

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OSB, 2007 WL 2253425, at *6-12 (rejecting claimed state law inferences of impact).
(a) California
‘In addition, the California Supreme Court has never endorsed the supposed inference of
impact principle claimed by Plaintiffs; nor has any California appellate court relied on such a
purported “inference” with respect to pass-through to indirect purchasers. Indeed, a number of
California decisions have outright declined to apply any presumption of impact in antitrust cases at
the class certification stage. See, e.g., Global Minerals & Metals Corp. v. Superior Court, 113 Cal.
App. 4th 836, 852 (Cal. Ct. App. 2003); J.P. Morgan & Co., Inc. v. Superior Court, 113 Cal. App.
4th 195 (Cal. Ct. App. 2003).
(b) Minnesota
Similarly, Plaintiffs are wrong when they claim that Gordon v. Microsoft Corp., No. 00-
5994, 2001 WL 366432 (Minn. Dist. Ct. Mar. 30, 2001), permits an inference of impact under
Minnesota law. Motion at 39-40. In reality, Gordon only discusses inferring the particular amount
of individual damages, see Gordon, 2001 WL 366432, at *11, not the fact of injury. With respect to

the fact of injury, the Gordon court held that the determination of whether each class member was

°° The California cases Plaintiffs cite are not to the contrary. See In re Cipro Cases I & IT, 121 Cal.
App. 4th 402, 411 (2004) (finding substantial evidence of common proof of classwide impact from
brand name drug monopoly); B.W.I. Custom Kitchen v. Owens-Illinois, Inc., 191 Cal. App. 3d 1341,
1352 n.8 (Cal. Ct. App. 1987) (depositions of middlemen established that they pass on overcharges);
Rosack v. Volvo of Am. Corp., 131 Cal. App. 3d 741, 745-46 (Cal. Ct. App. 1982) (vertical price-
fixing cases where there was no issue of pass-on); accord OSB, 2007 WL 2253425, at *6-12).
(refusing to apply inference of classwide impact to a California state antitrust law claim). Moreover,
any inference of impact could only even arguably apply to California claims when “the effects of the
price-fixing were not obscured by substantially altering or adding to the item received from the
manufacturer.” B.W.L., 191 Cal. App. 3d at 1352. In other words, even California courts referring in
dicta to such an inference have indicated it only would be applicable where the product reaches end-
users unchanged from its original state. In re Cipro Cases I & II, 121 Cal. App. 4th at 415-16;
accord Flash Memory, 2010 WL 2332081, at *13-14 (describing BWI. as “fundamentally
distinguishable” because “[i]n reaching its decision, the court in B.W.I. was careful to distinguish
between situations in which the product received by an indirect purchaser from the distributor was in
the same form that it was originally sold by the defendant manufacturer—and those cases in which
the product purchased by the indirect purchaser was altered in some manner’’). Here, it is undisputed
that CRTs, like flash memories, are incorporated into a wide variety of different end-use products
and are changed as they move through the supply chain, rendering any arguable inference of impact
under California law inapplicable. See supra at 5-7, 12-13.

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Bo NB RB NH ND RD ON DR DR eet
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injured to begin with, “is an element of liability and must be shown with some certainty.” Jd. at *7;
see also City of St. Paul v. FMC Corp., No. 89-0466, 1990 WL 259683, at *2 (D. Minn. Nov. 14,
1990); Keating v. Phillip Morris, Inc., 417 N.W.2d 132, 137 (Minn. Ct. App. 1987).
(c) Florida

Finally, Plaintiffs assert that an inference of impact can apply under Florida antitrust law
despite pricing diversity among individual class members. See Motion at 34-35. But, in the sole
decision Plaintiffs cite to support this assertion, the court certified the class only upon finding that
plaintiffs had demonstrated a reasonable method of proving impact and damages using common
proof (as opposed to a presumption). See In re Florida Microsoft Antitrust Litig., No. 99-27340,
2002 WL 31423620, at *14-15 (Fla. Cir. Ct. Aug. 26, 2002). Indeed, a Florida appellate court has
expressly held that any “presumption [of impact] should not arise in indirect purchaser cases.”
Execu-Tech Bus. Sys., Inc. v. Appleton Papers, Inc., 743 So. 2d 19, 22 (Fla. Dist. Ct. App. 1999); see
also In re Relafen Antitrust Litig., 221 F.R.D. 260, 280-82 (D. Mass. 2004) (relying on Execu-Tech
to deny certification of a Florida state class due to lack of a “precise showing of individual impact’).

In short, Plaintiffs must meet their burden of proving common impact and pass-on with a
preponderance of the evidence and they cannot use any purported state law “inference” as a short-cut
to satisfying the predominance test.
IL. THE PROPOSED CLASSES ARE NOT ASCERTAINABLE

Rule 23 further requires Plaintiffs to demonstrate that the class is ascertainable — ie., that
class membership can be determined in an “administratively feasible” manner. Marcus v BMW of N.
Am., LLC, 687 F.3d 583, 594 (3d Cir. 2012); Flash, 2010 WL 2332091 at *14; see also 7A Wright,
Miller & Kane, Federal Practice and Procedure § 760 (Rule 23 requires class definition to be
“sufficiently definite so that it is administratively feasible for the court to determine whether a
particular individual is a member’). A proposed class that requires significant fact-based inquiries to
determine class membership is “incongruous with the efficiencies expected in a class action.”
Marcus, 687 F.3d at 593; see also Flash, 2010 WL 2332081, at *15 (class not objectively
ascertainable when determining membership required factually-intensive efforts to disassemble

products); Kirkman v. North Carolina R.R. Co., 220 F.R.D. 49, 53 (M.D.N.C. 2004) (class not
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objectively ascertainable when determining membership required complicated title searches).
Plaintiffs’ proposed state-law-based classes fail this requirement.

Plaintiffs seek to certify classes of individuals located in 22 different states who “purchased
Cathode Ray Tubes” for their own use from defendants, their affiliates and alleged co-conspirators.
See Motion at 2. None of the proposed class members bought CRTs directly; rather, they bought
televisions or computer monitors that allegedly contain a CRT. This is fatal because few, if any,
class members will readily know if their televisions or computers contain a CRT manufactured by
one of the defendants or their alleged co-conspirators. A person who bought a Sony or RCA
television, for example, likely will not know who made the CRT inside. Nor will a person who
bought an Apple or Hewlett-Packard computer.

The testimony of numerous named Plaintiffs underscores this defect. Named plaintiff Barry
Kushner does not know which company manufactured the CRT in either of the two televisions that
serve as the basis for his claim. Cole Decl. Ex. 61, Kushner (IPP) Tr. 22:10-17, 55:22-56:2. The
same is true of Frank Warner, Gary Hanson, Lisa Reynolds, Margaret Slagle, Gloria Comeaux,
Lawyer’s Choice, Kerry Lee Hall, Janet Ackerman, Albert Crigler, Jeffrey Figone, Samuel Nasto,
Brian Luscher, Steven Ganz, Louise Wood, and David Rooks: None of them know who made the
CRT in their televisions or computers.°’ Named Plaintiffs Jeffrey Figone and Albert Crigler do not
know if their products contain CRTs at all. “Cole Decl. Ex. 68, Figone (IPP) Tr. 68:6-69:16; Cole
Decl. Ex. 67, Crigler (IPP) Tr. 88:11-19. And various named Plaintiffs conceded that if the CRT
was made by a non-defendant, they have no claim. Cole Decl. Ex. 64, Slagle (IPP) 86:9-18; Cole

°! Whether each representative knew who manufactured the CRT in question:

; Cole Decl. Ex. 62, Hanson (IPP) Tr.
68:9-11 (“No, I do not.”); id. at 69:16-24 (“I do not know.”); Cole Decl. Ex. 63, Reynolds (IPP) Tr.
37:18-20 (“No”); id. at 47:25-48:2 (“No”); Cole Decl. Ex. 64, Slagle (IPP) Tr. 27:12-14 (“No”); id.
at 50:16-18 (“Do I know who manufactured, no.’’); id. at 81:8-10 (“I don’t.”); id. at 83:7-9 (“No”);
Cole Decl. Ex. 52, Comeaux (IPP) Tr. 41:10-12 (“No”); Cole Decl. Ex. 53, Lawyer’s Choice Suites,
Inc. (IPP) Tr. 78:13-15 (“No”); id. at 125:12-14 (“No”); Cole Decl. Ex. 65, Hall (IPP) Tr. 113:14-17
(“No”); Cole Decl. Ex. 66, Ackerman (IPP) Tr. 32:18-23 (“I don’t know.”); Cole Decl. Ex. 67,
Crigler (IPP) Tr. 64:8-11 (“[N]o, I don’t know.”); id. at 89:13-16 (“I don’t.”); Cole Decl. Ex. 68,
Figone (IPP) Tr. 70:3-5 (“No”); id. at 96:5-8 (‘No”); Cole Decl. Ex. 69, Nasto (IPP) Tr. 83:21-23 (“I
do not.”); Cole Decl. Ex. 70, Luscher (IPP) Tr. 49:11-13 (“No”); Cole Decl. Ex. 71, Ganz (IPP) Tr.
59:11-13 (‘I do not know.”); id. at 75:17-19 (“No”); Cole Decl. Ex. 29, Wood (IPP) Tr. 52:20-53:11
(“I do not.”); Cole Decl. Ex. 72, Rooks (IPP) Tr. 82:23-25 (“No”).

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Decl. Ex. 65, Hall (IPP) Tr. 113:18-114:1; Cole Decl. Ex. 52, Comeaux (IPP) Tr. 52:18-53:19; Cole
Decl. Ex. 29, Wood (IPP) Tr. 53:8-54:13; Cole Decl. Ex. 67, Crigler (IPP) Tr. 69:3-11.
The problem is not theoretical as the CRTs incorporated into televisions and computer

monitors sold in the United States were made by both defendant and non-defendant manufacturers.

WS This mandates the denial of Plaintiffs’ Motion. See Flash, 2010 WL 2332081, at *15
(ascertainability not met when there is no objective way to determine if class members bought from
defendants rather than non-defendants); Xavier, 787 F. Supp. 2d at 1089 (ascertainability not met
when records could not determine class membership).

Recognizing this problem, class counsel began to provide some of the named Plaintiffs with
specialized assistance with opening their televisions and monitors to examine the CRTs inside.”
That option is not available to many potential class members because, among other things, the
alleged class period runs from 1995 to 2007 (from 5 to 17 years ago) and many consumers no longer

have the televisions or computers at issue.°* There is no way for such individuals to determine who

See, e.g., Cole Decl. Ex. 73, Andrews (IPP) Tr.43:17-44:2 (counsel sent someone to open Ms.
Andrews’ television); Cole Decl. Ex. 74, Jenkins (IPP) Tr. 44:21-45:9 (associate of Mr. Jenkins’
counsel sent to open the television); Cole Decl. Ex. 75, Terry (IPP) Tr. 46:11-47:4 (legal assistant
informed Ms. Terry on how to examine her television); Cole Decl. Ex. 62, Hanson (IPP) Tr. 63:13-
65:8 (television brought to counsel’s office to be opened); Cole Decl. Ex. 76, Southern Office
Supply (IPP) Tr. 140:16-25 (counsel assisted 30(b)(6) deponent in removing covers of CRT
products).

° Named plaintiff Jeffrey Figone, for example, gaims to have bought three televisions during the

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made the CRTs inside their products, and thus no way to determine if they are in the class. See
Xavier, 787 F. Supp. 2d at 1089 (class unascertainable where class members were required to consult
their memories to determine how long they smoked, as there were no records that could be looked at

to determine class membership).°

Il. THE PROPOSED CLASS REPRESENTATIVES ARE NEITHER ADEQUATE NOR
TYPICAL

Finally, Plaintiffs’ motion must be denied because they have not met their burden of
establishing that the putative class representatives have claims that are “typical” of the absent class
members and that they are able to “adequately protect the interests of the class.” Fed. R. Civ. P.
23(a)(3), (4); see also Falcon, 457 U.S. at 158 n. 13. These requirements are intended to ensure that
“the named plaintiff's claim and the class claims are so interrelated that the interests of the class
members will be fairly and adequately protected in their absence.” Falcon, 457 U.S. at 158 n. 13.

To be adequate and typical, a class representative must (1) be a member of the class; (2) not
be subject to unique defenses; and (3) demonstrate a basic awareness of the facts and a willingness

to participate sufficient to assure the Court that the class representative will not simply abdicate

putative class period, but has failed to preserve them. Cole Decl. Ex. 68, Figone (IPP) Tr. 113:4-10,
124:11-13, 129:11-14. See also Cole Decl. Ex. 70, Luscher (IPP) Tr. 46:18-20 (no longer owns
television); Cole Decl. Ex. 69, Nasto (IPP) Tr. 69:17-19 (same); Cole Decl. Ex. 29, Wood (IPP) Tr.
32:22-24 (same); Cole Decl. Ex. 53, Lawyer’s Choice Suites, Inc. (IPP) Tr. 86:13-87:25 (believe
monitors at issue were recycled); Cole Decl. Ex. 72, Rooks (IPP) Tr. 49:10-11 (no longer has
television).

°° Moreover, even if a putative class member still owns the relevant computer or television, Rule 23
is still not satisfied because individuals would have to disassemble—and risk damaging—their
televisions or computer monitors (or risk electrocuting themselves) to determine if they are in the
class. See, e.g.

Cole Decl. Ex. 77, Kushner Ex. 18 at CRT000382 (“This ‘bolt of lightning’ .. . may cause an
electrical shock. For the safety of everyone in your household, please do not remove product
covering.”). This is not allowed. Flash, 2010 WL 2332081, at *15 (class not ascertainable when
“factually-intensive” inquiry of taking apart computer products required to determine who
manufactured chips); Kirkman, 220 F.R.D. at 53 (class not ascertainable when burdensome title
search needed to determine class membership); see also In re Copper Antitrust Litig., 196 F.R.D.
348, 359 (W.D. Wis. 2000) (class not ascertainable when individuals could not determine class
membership through class definition itself); see, e.g., Cole Decl. Ex. 66, Ackerman (IPP) Tr. 33:8-15
(testifying that she would not “even know how to open” her television).

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responsibility to class counsel. See generally Falcon, 457 U.S. at 156. Plaintiffs have not met this
burden. They seek certification of “22 separate Indirect-Purchaser Statewide Classes” (Motion at 2),
but have failed to show that each proposed class is represented by an adequate and typical
representative. See Arrendondo v. Delano Farms Co., No. 09-1247, 2011 WL 1486612 at *17-18
(E.D. Cal. Apr. 19, 2011).

Plaintiffs have submitted literally no evidence from which the Court could conclude that any
of the proffered individuals are typical of, and adequate to represent, the class. They have provided
no declarations or deposition testimony from the putative representatives attesting to their ability and
willingness to represent consumers from their respective states. Instead, Plaintiffs devote fewer than
two pages of their 50-page brief (Motion at 16-17) to a discussion of the adequacy and typicality of
the named plaintiffs (and their counsel), which discussion consists entirely of conclusory statements. | -
They submit a chart that sets forth only each proposed represenative’s name, state, and product(s)
they claim to have purchased, which is obviously insufficient to carry their burden. JId.; see also id.
at A-1. Moreover, at least one of Plaintiffs’ conclusory statements — that “all members of the
Classes, including Plaintiffs, purchased CRT finished products containing Defendants’ CRTs” (id. at
16) — is wholly unsubstantiated, as discussed below. Plaintiffs’ failure to make an adequacy
showing is by itself a sufficient basis for the Court to deny certification as to all 22 classes. Cf
Falcon, 457 U.S. at 158-61.°°

Membership in the class is a threshold requirement for adequacy and typicality. Falcon, 457
U.S. at 156 (“[w]e have repeatedly held that a class representative must be part of the class”)
(internal quotations omitted); Sosna v. Iowa, 419 U.S. 393, 403 (A litigant must be a member of the
class which he or she seeks to represent at the time the class action is certified by the district
court.”). On this threshold qualification, many of Plaintiffs’ putative representatives do not even

make it out of the gate.

°° Attached to this Memorandum as Appendix A is a table listing the Plaintiffs whose testimony
demonstrates their inadequacy or atypicality and a summary of the relevant testimony. Neither the
table nor the discussion that follows is intended to suggest that the proposed representatives who are
not specifically addressed herein are adequate representatives for the proposed classes. Because
Plaintiffs bear the burden of establishing adequacy and have not done so with respect to any
proposed representative, certification must be denied as to all 22 proposed classes.

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Each state-specific class includes “[a]ll persons and entities in [indirect purchaser states]
who, from March 1, 1995 to November 25, 2007, as residents of [the state], purchased Cathode Ray
Tubes” “indirectly from any defendant or subsidiary thereof, or any named affiliate or any named

”

co-conspirator.” Motion at 2 (emphasis added).. Although some proposed representatives testified
that they were able to determine who manufactured their CRT, a class representatives testified
that they did not know whether they purchased a product containing a CRT manufactured or sold by
a Defendant or one of the alleged co-conspirators.°” Some proposed class representatives apparently
did not even attempt to identify the manufacturer of their CRTs.®

In addition to failing to establish who manufactured their CRTs, several putative
representatives failed to establish that they made their purchases in the relevant state or while a

resident of the state at issue, each of which is a requirement for membership in the proposed classes.

Lawyer’s Choice, the putative representative for the District of Columbia, testified that it was

possible that the purchases were made in Florida. Cole Decl. Ex. 53, Lawyer’s Choice Suites, Inc
(PT 11152, Sma

°7 The 13 individuals are Janet Ackerman (NY), Gloria Comeaux (NV), Albert Crigler (TN), Jeffrey
Figone (CA), Steven Ganz (CA), Kerry Lee Hall (ME), Barry Kushner (MN), Lawyer’s Choice
Suite, Inc. (DC), Brian Luscher (AZ), Lisa Reynolds (MI), Margaret Slagle (VT),

Louise Wood (NY). For example, Jeffrey Figone and Steven Ganz, both of California,
testified that they had no idea whether a Defendant manufactured their CRTs. Cole Decl. Ex. 68,
Figone (IPP) Tr. 70:3-11 (“Q. [D]o you know who manufactured the CRT inside the Sharp
television? A. No. Q. Is it possible that the CRT was manufactured by [non-Defendant] Sharp? ..
. A. I don’t know.”), id. at 95:24-96:2 (“Q. [D]o you know who manufactured the CRT [in your
Panasonic television]? A. No.”); Cole Decl. Ex. 71, Ganz (IPP) Tr. 53:11-15, 59:11-20, 75:17-19,
80:6-81:1, 105:9-20 (testifying that he does not know and is not sure whether a Defendant

manufactured the CRT inside his televisions and monitors and that it is possible that a non-

Defendant manufactured the CRT).
8 See e.g., Cole Decl. Ex. 61, Kushner (IPP) Tr. 46:20-25;
a These individuals have not established that they are members of the class.

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Cole Decl. Ex. 78, Warner Ex. 4 (interrogatory responses identifying all purchases that form the
basis of Mr. Warner’s claim as being post-1997 or un-dateable).

Without establishing that they are members of the proposed class, these 13 individuals are
necessarily inadequate and atypical class representatives. At a minimum, therefore, the proposed
classes for Arizona, California, District of Columbia, Maine, Michigan, Nevada, New York,
Tennessee, and Vermont must be rejected for want of an adequate or typical class representative.

CONCLUSION

For all of the foregoing reasons, Plaintiffs’ Motion must be denied.

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